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EXHIBIT A

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' 'ro derend;n Ci iika ct Mr A or $?O~ 505 g$@@ 5"0\1¥)'€//5,"`$0€`5:7/!7' ‘
.. ‘ (namc) (address') j ’ ,
You are hereby summoned and required to se c upon FO~D( A t GMC£G»\/LO

._ plaintiff(’s` » v "_' ' l
attorney), whose address is 0 ( 6 am , a copy of your ans\§ver to ‘ ' ‘
; the complaint which is herewith served upon you, within 20 days a er service of this summons. exclusive of ` ' '
5 the day of lservice You are also required to tile your answer to the complaint in the office of the Clerk of this
court either before service upon plaintiff(`s attorney), or within 5 days thereafter. ll you fail to meet the above
requirements, judgment by default may be rendered against you for the relief demanded in the complaint§ You
need not appear personally in court to answer the complaint l

Unless otherwise provided by Rule IB(a), your answer must state as a counterclaim any claim which you

may,have against the plaintiff which arises out of the transaction or occurrence that is the subject matter of
the plaintist claim or you will be barred from making such claim in any other action `

  

 

 

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WITNESS RUANNE SRAGOW Presiding Justice, on

(date)
<sEAL) ` QYw-/u;/» )»; M

CLERK/MAGISTRATE !

Nete.' (l) When more than one defendant is involved, the names of all defendants should appear in the aetion. If n separate sun'unons
is used for each defendant, each should be addressed to the particular defendant l

(2) 'I`hc number assigned to the complaint by. the Clerk at commencement of the action should be affixed lo this suaunons '
before it is sewed. ~

 

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complaint in this action, upon the‘ widtin'named-dcfendant, in the following manner(see Rule~4(d) (1-5):

 

     
  

 

 

. W-_'
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" h.\ o ‘ E%iwg\§§m§“" " (n.ame and titlc)
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j (addrecs)

 

. Nou::' '(ll' Thc' person sewing the process shall make proof of service thereof in writing to the court and to the party or his anomey,
- as me case may be. who has requested such servioe. Proof of service shall be made promptly and in any event within the
,_ Same time during which the person served must respond to the process. Rulc 4(!). `
(2) Please place date you make service on defendant in the box on me copy served on the defendanx, on the original returned to ;
, me court and on the copy returned to the person requesting service or his atlomcy. ’
§ (3) lf service is made at chc last and usual place of abodc. the officer shall forthwith mail first class a copy of the summons

to such last and usual place of abode', and shall set forth in the return the date of mailing and the address to which thc
summons was sent (G.L. c. 223, sec, 3l).

2&10‘/ §OG@/g_qq This form prescribed by the Chief Justice of the Di<rrir¢ ¢"n~""

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COMMONWEALTH OF MASSACHUSETTS

MIDDLESEX, SS CAMBRIDGE DISTRICT COURT
D()CKET NO.: 0952CVl l9

 

PAUL A. GARGANO and
SHEILA K GARGANO
Plaintiffs,

l CIrIBANK N<)RTH AMERICA ' ,
Defendant.

 

PLAINTIFF’S FIRST AMENDED COMPLAIN'I`

 

BABI_I_E.§
l. The Plaintif`r"s, Paul A. Gargano and Sheila K. Gargano, minmins a principal
residence at the Esplanade in Cambridge, Massachusetts.
2. The Dei`endant, Citibank, is located at P. O. Box 6500 Sioux Falls, SD 57l l7.
EA_Q'£.S.
3. On or about August 27, 2007, National Floors Direct, a Massachusetts based
' flooring contractor, entered into an agreement withl the Plaintiffs to remove and
replace flooring in their home on the Esplanade.
4. National Floors fhiled to ®mplete the work pursuant to the agreement, caused
damage to Plaintr`%’ property, installed nonconforming flooring, and otherwise

utterly failed to perform the work as agreed.

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5. latter discovering National Floors’ failures, the PlamtiHs contacted Citibank and
put an immediate stop payment order on any and all charges related to Nationaf
Floors.

6. Through its personal customer service representative, Citibank advised Plaintift`
that National Floors had not yet presented the charge for collection and the
account would be fi'ozen and Plaintit`fs should send a written note of this verbal
communication

7. Over the next month or so, Plaintift`s provided Citibank with information
regarding the disputed charge and an analysis of the physical damages written by
a licensed general contractor and outside adjuster.

8. On December 5, 2007 , some two months later, Citibank sent the Plaintiffs a letter
containing National Floors rebuttal of Plaintiffs’ claims.

l 9. On December 17, 2007 Plaintiffs’ counsel sent a letter to Citibanl< responding to

National Floors rebuttal letter and informing Citibank that National Floors had

made no offer or attempt to resolve the unworkmanlike installation and the

residual physical damage caused by the installation

10. On December 22, 23 007 Citibank sent a letter to Ptaintiff stating that they had

' failed to resolve the dispute with National Floors and had paid the charges as their

§ obligation was to the merchant and not the cardholder.

ll. Plaintit`fs informed Citibank that the agreement with National Floors was
dependent upon completion and complete customer satisfaction and that neither
had been met, nor had there been a full delivery of all material Plaintiffs had been

advised was to be used.

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12. Plaintiti`s further informed Citibank that its obligation was to the Plaintii’f-
cardholder.
13. Citibank proceeded to pay the merchant, National Floors against the will of the
Plaintiff.
14. This was done mongfully, willfully, and in breach of Citibank’s fiduciary duty to t
the Plaintifi"s.
15. Citibank’s failure to act in accordance with Plaintiff»carhdolder’s contractual
rights, aided and abetted the merchant in its larcenous activity and facilitated its
consumer ii'aud. §
16 . Defendant, Citibanl< charged Plaintiii` a $600 penalty along with interest charges
17. By the constituted agreement between the Plaintift`~cardholders and Citibank,
defendant, Citibank was never empowered to act in judgment

COUNT I
Breach of Contract

18. The Plaintiffs incorporate the allegations set forth in paragraphs 1-17 as if
specifically set forth herein §

19. The plaintiff and the defendant, Citibank, entered into a~binding contract when
Plaintiff agreed to the terms and conditions of Citibank’s credit card offer.

20. This agreement included the obligation on the part of Citibanlc, to stop payment
of any disputed charges at the plaintiffs request, pending investigation of the
dispute

21. Defendant, Citibank, failed to stop payment in a timely manner.

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; 22. Citibank charged plaintiff additional fees arising out of its failure to stop payment
23. Citibank’s actions constitute breach of contract

24. As a result of Citibank’s breach, the plaintiff has suffered actual and

consequential damages

COUNT II
Interference with Judicial proceedings

25. The Plaintift`s incorporates the allegations set forth in paragraphs 1-24 as if
specifically set forth hercin.

26. The defendant, Citibzmk, was made aware of the litigation pending between

plaintiff and National Floors.

27. The defendant was also made aware of the preliminary injunction sought by
plaintiff to prevent the defendant from remitting payment to National Floors.

28. The defendant, Citibank, remitted payment to Nation‘al Floors despite Defendant’s
knowledge of the pending hearing on a preliminary injunction

29. As a result of the defendant’s interference the plaintiif has suffered actual and
consequential damages

COUNT III
Tortious Interference with Contract

 

30. The plaintiff incorporates the allegations set forth in paragraphs l~29 as if
' specifically set forth herein.
31. The plaintiff had a contractual relationship with National Floors
32. The defendant, Citibank, was made aware of the litigation pending between
plaintiff and National Floors, including the existence of a contractual relationship

between said parties

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o

, 33. ¢itibank was also made aware of the preliminary injunction sought by the
plaintiff to prevent Citibank from remitting payment to National Floors.

34. Plaintiff remitted payment to National Floors despite its knowledge of the
contractual dispute between the plaintiff and National Floors as well as its
knowledge of the pending hearing on a preliminary injunction

35. The defendant's actions improperly interfered with the contractual relations of the
plaintiff and National Floors. t

36. As a result of the Defendant’s interference the plaintiff has suffered actual and

consequential damages

COUNT IV
Vio|ation of M.G.L. c. 93A

37. 'llie plaintiff incorporates the allegations set forth in paragraphs l-32 as if
specifically set forth herein l
38. The plaintiff had a business relationship with Citibank.
39. Citibank was informed that Plaintift` wished to cancel the charges for ilooring.
40. Citibank deliberately failed to process the stop payment order.
41. Citibnnk’s failure to stop payment was an unfair and/or deceptive act or practice
42. Citibank acted knowingly and willfully when it declined to stop payment in a

timely manner. l

WI-IEREFORE the Plaintiifs, Paul and Sheila Ga'rgano, demand judgment against the

Defendant, Citibank, for monetary damages and any timber relief this court deems just.

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TR_IAL BY JURY lS HEREBY DEMANDED ON ALL COUNTS

Respectiitlly submitted
Plaintiff, by her attorneys,
Gargano & Associates

Paul A. Gargano BBO#185560

David K Stevenson, BBO#670913

GARGANO & ASSOCIATES '
Four Canal Park

cambridge MA 02141 ' 4
(617) 621-1100

 

Dated: February 6, 2009

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EXHIBIT B

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COMMONWEALTH OF MASSACHUSETT_S

 

MIDDLESE_X, SS. . » CAMBRIDGE DISTRICT COURT l
v DOCKET NO. 0952CV1 l9
PAUL A. GARGANO and SHEILA K. -
GARGANO, l "
Plaintiffs,

v.
CITIBANK NORTH AMERICA,

' Defendant.

 

 

PLAINTIFFS, PAUL A. GARGAN 0 AND SHEILA K. GARGANO’S, MOTI()N FOR
SUMlVIARY JUDGMENT

NOW come the Plaintiffs, Paul rand Sheila Gargano, and respectfully move that this
honorable Court-enter summery judgment'in their favor, pursuant to Rule 56 of the
Massachusetts Rules of Civil Procedure. As grounds therefore, Plaintiffs state that based on the
undisputed facts, Defendant breached the terms of its cardmember agreement and violated
various federal and state laws and regulations including 15 U.S.C. § 1602(0); 15 U.S.C. §
`l666(i); M.G.L‘. c. 140D, § l; Regulation Z,‘ 12 C.F.R. § 226.12(b)(l) fn. 22; 209 CMR §
33.12(2)(a) iii 22 .` As further grounds, plaintiffs refer to their memorandum of law in support
therof. l l l

WHEREFORE, PlaintiffS respectfully request that this honorable Court grant this motion
for summary judgment and assess damages in the amount Of $24,871 as well as double or treble
damages, interest costs and attorneys fees pursuant to G.L. c. 93A against the defendant,

Citibank.

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Date; D¢cember 9, 2009

Respectfully Submitted
By their attorneys,

 

Aline Z. Martinian, Esq
BBO# 641590

Gargano' & Associates
`4 Canal Parl<
Ca'Inbl‘idg€, MA 02141 4
617-621~1100 n

